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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


                               Case No. 23 C 818
 IN RE: HAIR RELAXER MARKETING
 SALES PRACTICES AND PRODUCTS MDL No. 3060
 LIABILITY LITIGATION
                               Judge Mary M. Rowland


                       CASE MANAGEMENT ORDER NO. 4
            STIPULATED PROTOCOL FOR PRODUCING DOCUMENTS AND
                   ELECTRONICALLY STORED INFORMATION

I.       SCOPE

           A.      PURPOSE

         This Stipulated Protocol for Producing Documents and Electronically Stored Information

(the “Order”) shall govern the production of documents and electronically stored information

(“ESI”) by the parties and their counsel of record, whether they currently are involved, or become

so in the future (collectively, the “Parties”) in the above captioned litigation (the “MDL”), and any

and all cases consolidated or coordinated with it.

           B.      GENERAL

         Nothing in this Order is intended to be an exhaustive list of or limitation on the discovery

obligations or rights of a Party requested to produce documents or ESI (“Producing Party”) or a

Party requesting documents or ESI (“Requesting Party”). Except as specifically set forth herein,

this Order does not: (a) alter or affect the applicability of the Federal Rules of Civil Procedure

(“Federal Rules”) or any Local Rules of the District Courts (“Local Rules”), as applicable; (b)

address, limit, determine, or affect the relevance, discoverability, or admissibility as evidence of

any document or ESI, regardless of whether the document or ESI is to be preserved, is preserved,

or is produced; or (c) alter or affect the objections to discovery available under the Federal Rules.

The purpose of this Order is to facilitate the exchange of ESI and hard copy documents in an

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efficient manner and in accordance with the Federal Rules. By stipulating to this Order and

agreeing to produce documents in a particular form or forms, no Party waives any objections to

producing any particular document or category of documents on any grounds whatsoever.

       The procedures and protocols outlined in this Order govern the production of documents

and ESI by all Parties. The Parties will take reasonable steps to comply with this Order. The Parties

agree to promptly alert all other Parties concerning any technical problems associated with

complying with this Order and, to the extent that a Party believes that compliance with this Order

imposes an undue burden disproportionate to the needs of the case, the Party claiming such a

burden shall inform all other Parties in writing of the asserted burden, describing it (and any

potential solutions) with specificity, and the Parties shall thereafter promptly meet and confer in

an effort to resolve the issue. All productions made pursuant to this Order are subject to any

confidentiality, preservation, protective, and/or privilege orders entered in the MDL.

          C.      APPLICABILITY

       The production specifications in this Order apply to documents that are produced in the

first instance in the MDL. In the event of transfer to other courts, this Order will remain in effect

in all respects, until adopted by the transferee court or replaced by a successor order. The terms

and specifications of this Order shall only apply to productions made after the date of entry of this

Order. Productions served in the MDL that were delivered before the date of entry of this Order

are exempt from the terms of the Order, unless the Producing Party and Receiving Party otherwise

agree in writing. To the extent additional obligations or rights not addressed in this Order arise

under the Federal Rules, Local Rules, or other applicable state and federal statutes, they shall be

controlling.




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          D.      DOCUMENTS PRODUCED IN OTHER MATTERS

       To the extent any Party is required or agrees to produce documents in the MDL that

originally were collected or produced in other cases or government investigations, such documents

shall be identified and produced to the extent possible in accordance with the production format

described herein. Such documents may bear the original Bates numbers assigned to them in those

other proceedings and shall also bear any additional bates-stamp required in this MDL. To the

extent any such documents are withheld from a production, the withholding Party shall identify

the corresponding basis, including any impacted custodians, document categories, or other reason

on which the document is being withheld, to enable the Parties to confer about the potential later

production of such documents.

      E.   THIRD PARTY SUBPOENAS AND THE PROCESSING OF NON-
  PARTY DOCUMENTS

       A Requesting Party issuing a non-party subpoena (“Issuing Party”) shall include a copy of

this Order with the subpoena and request that the non-party produce documents in accordance with

the specifications of this Order. The Issuing Party is responsible for producing to all other Parties

any productions obtained in the same form in which the document(s) was/were produced by the

non-party. Such non-party productions should be served by the Issuing Party to all other Parties

within fourteen (14) calendar days of the non-party’s production to the Issuing Party.

       If any such non-party productions are not Bates Numbered by the non-party producer, prior

to any Party reproducing the non-party documents, the Parties will meet and confer to agree upon

a format for designating the documents with a unique Bates Number prefix. For the avoidance of

doubt, nothing in this Order is intended to or should be interpreted as narrowing, expanding, or

otherwise affecting the rights of the Parties or non-parties to object to a subpoena.




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           F.      COOPERATION

       The Parties are aware of the importance the Court places on cooperation and commit to

continue to consult and cooperate as discovery proceeds, and recognize and agree that an attorney’s

zealous representation of a client is not compromised by conducting discovery in a cooperative

manner.

           G.      LIAISON COUNSEL

       Defendants and Plaintiffs’ Leadership shall nominate counsel to serve as liaison(s) for ESI

discovery matters (together, “Liaison Counsel”). The nomination of Liaison Counsel is for the

convenience of the parties, to allow timely and documented communication regarding discovery

disputes, and to expedite resolution of non-controversial ESI discovery matters. Accordingly,

Plaintiffs and Defendants’ Liaison Counsel retain the right, at their discretion, to require agreement

by all parties for any issue deemed not appropriate for resolution through Liaison Counsel. Specific

discovery disputes or binding discovery agreements unique to the discovery obligations of one

Producing Party must be negotiated directly with counsel for that Producing Party. Additionally,

at any meet and confer scheduled in the course of resolving any dispute about the production of

documents, it is required that counsel for the Producing Party responsible for that document

production and counsel for the Receiving Party will be in attendance.

       The Parties will promptly exchange the names of their liaisons and each defendant shall

provide the name of a dedicated discovery contact. Should they change during the course of this

litigation, the Party who is changing liaison counsel or a contact shall notify all other Parties within

seven (7) calendar days of such a change.

           H.      PRODUCTIONS SHALL BE MADE AVAILABLE TO ALL PARTIES

       Any document production, excluding medical records, made by a Producing Party in this

litigation shall be made available to all parties to this litigation by the Producing Party. Prior to


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the first production of documents, the Parties may meet and confer to explore the possibility of

creating a central repository that the Parties may use to retrieve the document productions made in

this MDL.

II.     DISCOVERY CONCERNING PRESERVATION AND COLLECTION EFFORTS

        If there is a dispute concerning the scope of a Party’s preservation or collection efforts,

before discovery about such efforts is initiated, the Parties or their counsel shall meet and confer

to address the specific stated need for such discovery, its relevance to claims and defenses, its

proportionality to the needs of the case, and the availability and suitability of any alternative, less

burdensome means to obtain the information. The Party requesting the meet and confer shall

provide the request in writing, and notice to Defendants’ and Plaintiffs’ Leadership Liaison

Counsel must be provided in advance of any meet and confer. The meet and confer shall happen

within fourteen (14) calendar days of the written request.

        In order to facilitate the ability of the Parties to have a meaningful discussion regarding

less burdensome or alternative means for preserving or collecting documents, the Party whose

preservation or collection efforts are at issue shall explain in writing how the preservation or

collection is burdensome as well as potential solutions to the issues raised at least three (3) calendar

business days before the meet and confer between the Parties.

        If an agreement cannot be reached, a Party may issue a written notice of their intention to

seek the Court’s intervention to resolve the dispute, after which, the Parties will have fourteen (14)

calendar days to additionally meet and confer to resolve the issue, but if it is not resolved during

these fourteen (14) calendar days, the parties may thereafter immediately submit the dispute to the

Court or its designee for resolution.

III.    LIMITATIONS AND NON-WAIVER




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         The Parties and their counsel intend by this Order to make the mutual disclosures discussed

herein. The Parties and their counsel do not intend by this Order to waive their rights to any

protection or privilege, including the attorney-client privilege and the work-product doctrine. All

Parties preserve their attorney-client privileges, work product protection, and other privileges. The

Parties and their attorneys are not waiving, and specifically reserve, the right to object to any

discovery request on any grounds. Further, nothing in this Order shall be construed to affect the

admissibility of Documents and ESI. All objections to the discoverability or admissibility of any

Documents and ESI are preserved and may be asserted at any time.

IV.      RESERVATION OF RIGHTS

         For the avoidance of doubt, the inclusion of any platform, program, application, or software

as examples does not create any independent obligation or commitment to preserve or collect ESI

from such platform, program, application, or software. The Parties reserve all rights to object to

any demand to collect or produce ESI from any or all examples.

V.       MODIFICATION BY AGREEMENT

         Any practice or procedure set forth herein may be varied by agreement of affected Parties,

which will be confirmed in writing, where such variance is deemed appropriate to facilitate the

timely and economical exchange of Documents and ESI. Any Party added or joined to any

complaint in the MDL and any Party to actions that may be consolidated into or coordinated with

the MDL after the date of this Order that seeks to deviate from the terms of this Order must obtain

leave of Court to do so unless all affected Parties otherwise consent in writing. Before seeking

Court intervention, the Parties shall meet and confer in good faith regarding any modification.

VI.      IDENTIFICATION OF RESPONSIVE DOCUMENTS

           A.      PRESERVATION OBLIGATIONS




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        1. Consistent with the factors set forth in Fed. R. Civ. Rule 26, the Parties have taken and

shall continue to take reasonable steps to ensure the preservation of documents, data, and tangible

things relevant to claims or defenses in this Litigation.

        2. The Parties have been advised by their respective counsel of their current and

continuing obligations to preserve and not alter or destroy any potentially responsive documents

or data in their possession, custody, and control.

        3. The Parties’ preservation obligations extend to relevant information generated on or

after this date as well as to relevant information in existence on this date no matter when created.

        5. By preserving documents or ESI for the purpose of this litigation, the Parties are not

conceding that such material is discoverable, nor are they waiving any claim of privilege.

        6. Nothing in this agreement shall affect any other obligations of the Parties to preserve

documents or information for other purposes, such as pursuant to court order, administrative order,

statute, or in response to other anticipated litigation.

             B.     ESI WHICH DOES NOT NEED TO BE PRESERVED

        Consistent with the proportionality standard, and absent a Party’s specific written notice

for good cause, the following categories of ESI need not be preserved:

        1.        Deleted data, fragmented data, unallocated/slack-space data, or other data only

accessible by the data being rebuilt through forensic means.

        2.        Temporary data stored in a computer’s random-access memory (RAM), temporary

files, or other ephemeral data that are difficult to preserve without disabling the operating system.

        3.        Online access data such as temporary Internet files, cache, and cookies.

        4.        Data in metadata fields that are updated automatically and frequently, such as last-

opened dates.




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       5.        Data duplicated in any electronic backup system for the purpose of system recovery

or information restoration, including but not limited to continuity of operations systems, and data

or system mirrors or shadows, if such data are routinely purged, overwritten or otherwise made

not reasonably accessible in accordance with an established routine system maintenance policy.

       6.        Server, system, or network logs.

       7.        Electronic data temporarily stored by laboratory equipment or attached electronic

equipment, provided that such data is not ordinarily preserved as part of a laboratory report.

       8.        Data remaining from systems no longer in use that is unintelligible or that is

duplicated on current systems.

       9.        Other forms of ESI whose preservation the parties agree requires extraordinary

affirmative measures that are not utilized in the ordinary course of business or standard ESI

practices. If a party intends to utilize this subsection, then the party must provide a written notice

to the Parties, describing the information they are not preserving, the burden associated with the

preservation as well as the reasons why it is believed the information or evidence is accessible by

a different means.

            C.     INACCESSIBLE ESI

       The following categories of ESI are presumed to be inaccessible within the definition of

Federal Rule of Civil Procedure 26(b)(2)(B):

       1.        Back-up data that are substantially duplicative of data that are more accessible

elsewhere.

       2.        Back-up tapes or other long-term storage media that were created strictly for use as

a data back-up medium.




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         3.        Electronic data (e.g., call logs, email, calendars, contact data, notes, etc.) sent to or

from mobile devices (e.g., iPhone, iPad, Android, and Blackberry devices), if a copy of such

electronic data is saved elsewhere that is accessible (such as on a server, laptop, desktop computer,

or “cloud” storage).

         4.        Disaster-recovery backup data. Absent a showing of good cause, disaster-recovery

backup data shall be considered to be not reasonably accessible.

         5.        Data remaining from systems no longer in use that is unintelligible on systems in

use and cannot be accessed or restored by systems currently licensed or owned 1.

         6.        Nothing herein is intended to suggest that any sources of information or data not

specifically excluded here are otherwise discoverable or required to be searched.

         Unless otherwise agreed to or ordered by the Court, the Parties are not required to obtain a

forensic image of the preserved data as long as the native files and associated metadata are

preserved. Further, and unless otherwise agreed to or ordered by the Court, the Parties are not

required to collect data from foreign jurisdictions outside of the United States before exhausting

domestic sources.

              D.      PLANNING FOR DISCOVERY

         Consistent with the Parties’ obligations under Rule 26(f) of the Federal Rules, the Parties

will meet and confer regarding planning for discovery, including custodians, data sources, date

ranges, and categories of documents or ESI that contain information relevant to this litigation. The

Parties will disclose categories or sources of discoverable information that they have reason to

believe have not been preserved or should not be preserved or produced and will explain with



1
 For example, data will not be deemed to be inaccessible if the system required to access the data requires the renewal
or purchase of a license and/or subscription and/or installing and/or reinstalling of a program.



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specificity the reasons to support such a belief in writing in accordance with Section A or B above.

The Parties understand their preservation obligations and agree that steps taken to preserve

potentially relevant ESI will be reasonable and proportionate. The Parties will take reasonable and

proportional steps to preserve potentially relevant ESI in their possession, custody, or control.

          E.      DISCLOSURE OF ARCHIVAL/BACKUP DATA

       If a Party learns that potentially relevant and non-duplicative documents or information

have been destroyed per a document retention policy, but that an archival/backup location contains

an archival/backup copy of such documents, the Party will disclose the existence of this

archival/backup data, regardless of whether such a location has been declared or deemed

inaccessible. The Parties agree to meet and confer about this this archival/backup location, and the

Producing Party will determine whether the the burden or expense of restoring and collecting this

data outweighs its likely benefit.

VII.   SEARCH METHODOLOGY

       The Parties shall meet and confer regarding search methods used to identify responsive

documents and ESI. The fact that a document or ESI is responsive to a search term or identified as

responsive by any other technology used to identify potentially responsive Documents and ESI

shall not prevent any Party from withholding such file from production on the grounds that the file

is protected from disclosure by applicable privilege or work-product protection.

       The use of a search methodology does not relieve a party from its obligations under Federal

Rules 34 and 26 to produce responsive documents, and accordingly documents or ESI known to

be responsive to a discovery request or otherwise subject to production or relevant to the claims

or defenses shall be produced without regard to whether it was returned by any search methodology

used in accordance with this Order or otherwise agreed upon by the parties unless there is a claim




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for privilege. Prior to a Party using a search methodology (if any) to identify documents for

production, the search terms, keywords, date limitations, and custodians applied to the data

searched will be disclosed by the Producing Party to the Requesting Party. Within fourteen (14)

calendar days of such disclosure, the Parties must meet and confer regarding such terms,

custodians, and date culling per VII (A) below.

       Should a Party choose to use a search methodology to cull their review of documents, the

methodology must be run against all electronic documents and data collected from custodial and

non-custodial sources identified for potential production (except for per VII(D) – unsearchable

documents), and subject to de-duplication and de-NISTing of such documents and data pursuant

to paragraphs VIII(M) and VIII(P) below.

       At all meet and conferrals where the topic is the validity of search methodologies to identify

documents subject to production, the Producing Party shall be required to provide information

regarding search terms hits reports recall and precision data for any predictive coding model, or

other data points available to provide insight into the validity of the method used.

       Should a Producing Party wish to use any method or methodology not specifically

addressed by this Order to identify responsive documents or to exclude from any review or

production, notice to the Receiving Party must be made prior to the use of any such method or

methodology.

          A.      SEARCH TERMS

       Where the Parties agree that potentially responsive ESI shall be searched using search

terms, the Parties shall meet and confer to provide reasonable assurances to the Requesting Party

that the Producing Party’s search terms and methodology used to apply them are reasonably




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calculated to identify responsive documents and ESI. Prior to or during such meet and conferral,

the Producing Party shall provide all associated information required by this Order.

        If, after disclosure of the Producing Party’s proposed search method, search parameters,

and search terms, and prior to the conduct of any searches, and after a reasonable meet-and-confer

process, a Requesting Party believes in good faith that the Producing Party’s proposals regarding

search, retrieval, and production would result in deficiencies in production, the Requesting Party

may object to the proposal and make prompt requests for different or additional search methods,

parameters, or search terms. Such requests shall only be made after the Parties have met and

conferred as to the alleged deficiencies identified by the Requesting Party. If the issue is not

resolved within fourteen (14) calendar days after the objection, either Party may thereafter

immediately submit the dispute to the Court or its designee for resolution.

        Without prior agreement of the Parties per VII(C) below, Technology Assisted Review

(“TAR”) will not be applied before or after any application of search terms by any Party, unless

TAR is used for review prioritization only.

           B.        HIT REPORTS

        A hit report shall contain, for each custodian or data source in the document collection

where the terms were applied, the following with respect to each proposed or modified search term

in the collection:

                a. The number of documents with hits for that term;

                b. The number of unique documents, i.e., documents which do not have hits for

                     any other term, for that term;

                c. The number of family members requiring review in connection with all

                     documents with hits; and

                d. The number of unique family members of the documents with hits for that term.


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        The Parties will meet and confer to resolve disagreements over the search terms, their

efficacy, or their application.

           C.      TECHNOLOGY-ASSISTED-REVIEW

        The Parties agree that, with prior written notice to the Requesting Party, a Producing Party

may also use other reasonable techniques to identify documents for responsiveness or relevance,

including but not limited to predictive coding and other TAR methods, and the Parties will meet

and confer regarding the same. Any Producing Party wishing to utilize TAR for document culling

agrees to disclose written information to the Requesting Party concerning the TAR tool in use, as

well as agreed-upon metrics and data concerning recall, precision, and elusion.

        The Requesting Party shall have fourteen (14) calendar days from the date of receipt of

Producing Party’s written disclosure to object in writing to the use of TAR for document culling.

The Requesting Party’s writing must reasonably describe any objections or disputes concerning

the TAR tool and the metrics disclosed. If the Requesting Party objects to its use, then the

Producing Party and Requesting Party shall meet and confer within fourteen (14) calendar days of

receipt of the written objection to resolve the issue. If the issue is not resolved within the fourteen

(14) calendar days after the objection, either Party may bring may thereafter immediately submit

the dispute to the Court or its designee for resolution.

           D.      UNSEARCHABLE DOCUMENTS

        If a Producing Party identifies non-duplicative and potentially responsive documents for

which the enumerated search methodologies listed herein are fundamentally ineffective for culling

on documents or data (such as images, , hard copy documents, or certain foreign language

documents), the documents must be reviewed without the aid of a search methodology if no

alternative electronic search methodology can be identified.




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If the Producing Party maintains that they have a reliable search methodology to cull the

documents, then the Producing Party, prior to its use, must outline in writing to the Requesting

Party the search methodology being sought to use and its reliability for use in the specific instance,

which will include search terms hits, or recall and precision of any predictive coding model. The

Requesting Party shall have fourteen (14) calendar days to object, in writing, to its use. If the

Requesting Party objects to its use, then the Producing Party and Requesting Party shall meet and

confer within fourteen (14) calendar days of the objection to resolve the issue. If the issue is not

resolved within the fourteen (14) days after the objection, either Party may bring may thereafter

immediately submit the dispute to the Court or its designee for resolution.

VIII. FORM OF PRODUCTION

          A.        FILE TYPES AND FORMAT

               1.      Emails shall be produced as TIFFs.

               2.      All spreadsheet (e.g., Microsoft Excel, Corel Quattro, etc.) files shall be

                       produced as native files with TIFF placeholder images.

               3.      All PDF files shall be produced as TIFF files, except where the metadata

                       field “Has Hidden Content” is a “Y” and no redaction is applied, in which

                       case the document shall also be produced as a native file.

               4.      All word processing (e.g., Microsoft Word) files shall be produced as TIFF

                       files, except where the metadata field “HasHiddenContent” is “Y” and no

                       redaction is applied, in which case the document shall also be produced as

                       a native file.

               5.      All presentation files (e.g., PowerPoint) shall be produced in speaker note

                       view visible except where the metadata field “HasHiddenContent” is “Y”




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                       and no redaction is applied, in which case the document shall also be

                       produced as a native file.

               6.      All media files, such as audio and video files, shall be produced as native

                       files with TIFF placeholder images.

               7.      The Parties will meet and confer on the production of other file types, such

                       as CAD drawings, GIS data, materials and prototypes testing, data from

                       messaging applications (e.g., Teams, Slack, Google Chat, et al.), CRM or

                       ERP platforms, (SAP, Salesforce, et al.) etc., including with respect to non-

                       standard metadata fields not already listed in Appendix A, below.

          B.        COLOR

       Documents containing color need not be produced in color. The Producing Party will

promptly produce a color image of a document upon request if the original document contains

color, provided that the request is proportionate to the needs of the case.

          C.        REDACTIONS

       No redactions for relevance may be made within a produced document or ESI item. The

Parties agree that, where ESI items need to be redacted, they shall be produced in TIFF format

with each redaction clearly indicated. Any metadata fields reasonably available and unnecessary

to protect the privilege protected by the redaction shall be provided. The Parties understand that

for certain MS Excel documents or other file types or files, TIFF redactions may be impracticable.

These documents may be redacted in native format so long as the original document is also

preserved in an unredacted form.




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          D.      STRUCTURED DATA

       If discoverable information from any Structured Data System can be produced in an already

existing and reasonably available report, the Producing Party may collect and produce the data in

that report format. Prior to producing the report, the Producing Party must provide in writing the

various different report options available, including the data dictionary, if any exist. Within 14

(fourteen) days of receiving such report options, the Parties agree to meet and confer regarding

any disputes about structured data production format. If an existing report form is not reasonably

available, the Producing Party may make reasonable efforts to export from the Structured Data

System discoverable information in a format compatible with Microsoft Excel and may produce

such information in that native format.

          E.      HARD COPY DOCUMENTS

       Collected and/or potentially responsive documents that exist in hardcopy will be scanned

to TIFF image format and produced in accordance with the specifications set forth on Exhibit A.

A Party’s hard copy documents that are not text-searchable shall be made searchable by OCR prior

to production at that Party’s cost. In scanning hard copy documents, distinct documents should not

be merged into a single record, and single documents should not be split into multiple records (i.e.,

paper documents should be logically unitized). In the case of an organized compilation of separate

documents – for example, a binder containing several separate documents behind numbered tabs

– the document behind each tab should be scanned separately, but the relationship among the

documents in the compilation should be reflected in the proper coding of the beginning and ending

document and attachment fields.

       The Parties will make their best efforts to unitize the documents correctly. Within 14

calendar days (or as otherwise agreed) after notice from a requesting party that a document appears




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to have been unitized incorrectly, the producing party shall either explain why the unitization is

correct or produce a correctly unitized replacement.

          F.      NOTES AND ATTACHMENTS

       If any original hard copy document has any note or attachment affixed to it, the producing

party shall scan and produce copies of the original hard-copy document along with all notes and

attachments to it in the same manner as other documents. If any such note or attachment obscures

any information on the original hard copy document, the producing party shall also produce a copy

of the original hard-copy document without the note or attachment affixed in order to make the

underlying information visible. The relationship between the version of the hard-copy document

with the note or attachment, and the version without the note or attachment, shall be indicated by

proper coding of the beginning and ending document and attachment fields (i.e., the “BegBates,”

“EndBates”, “BegAttach”, and “EndAttach” fields).

          G.      RESPONSIVE DOCUMENTS IN A CONTAINER

       If, in the ordinary course of business, responsive documents are maintained in a file, folder,

envelope, binder, notebook or similar container used to store documents, all contents therein shall

be reviewed for production and privilege.

          H.      FAMILY GROUPS/RELATIONSHIPS.

       Family relationships (e.g., the association between an attachment and its parent document,

or between embedded documents, or linked internal or non-public documents and their parents)

shall be preserved. Attachments should be consecutively produced with their parent such that the

bates numbers for the attachment(s) is/are directly subsequent to the parent document.

          I.      PRODUCTION OF COMPLETE FAMILY GROUPS/RELATIONSHIPS

       A document and all other documents in its attachment range, emails with attachments, and

files with extracted embedded OLE documents all constitute family groups. If any member of a



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family group is produced, all members of that group must also be produced or else logged as

privileged without breaking the grouping of these documents. Upon review of any document

production, the Requesting Party may request that the Producing Party produce specific

hyperlinked documents within the Producing Party’s domain custody or control referenced within

e-mails or other ESI. The Producing Party shall collect and produce the specific hyperlinked

documents to the extent they exist, except that if it is not technically feasible or unduly burdensome

to collect and produce such documents, they shall provide written notice to the receiving party of

such technical difficulty or burden associated with the production. The receiving party may contest

the asserted burden, and the parties will meet and confer within 7 days to resolve their dispute. If

the parties are unable to resolve their dispute, they can submit it to the court for resolution.

       J.   EXTRACTED TEXT (EMAILS, UNREDACTED NATIVE ESI, AND
   REDACTED SPREADSHEETS)

       All email, un-redacted ESI, and redacted spreadsheets produced as native files, should be

provided with complete document-level extracted text files. Extracted text shall include all

comments, revisions, tracked changes, speaker’s notes, and text from documents with comments

or tracked changes, and hidden worksheets, slides, columns, and rows. Text extracted from emails

shall include all header information that would be visible if the email was viewed in Outlook

including: (1) the individuals to whom the communication was directed (“To”), (2) the author of

the email communication (“From”), (3) who was copied and blind copied on such email (“CC”

and “BCC”), (4) the subject line of the email (“RE” or “Subject”), (5) the date and time of the

email, and (6) the names of any attachments.

          K.      OCR (REDACTED NATIVE ESI, HARD COPY DOCUMENTS)

       In the event a document, other than spreadsheets, e.g., Excel files, contains text that is to

be redacted, Optical Character Recognition (“OCR”) text files should be provided for any un-



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redacted portions of the documents. Document-level OCR text files shall also be provided for all

hard copy scanned documents. OCR software must be set to the highest quality setting for any

previously unscanned paper documents, and reasonable quality control measures shall be used to

ensure that the integrity of scanned copies of previously unscanned paper documents are preserved

for OCR (e.g., pages are not angled or skewed, text is not blurred or obscured, etc.). Documents

containing foreign language text must be OCR’d using the appropriate settings for that language,

(e.g., OCR of Asian language documents must properly capture the relevant Asian characters).

Settings such as “auto-deskewing” and “auto-rotation” must be turned on during the OCR process

to maximize text recognition on any given page.

             L.      INCLUSIVE EMAIL PRODUCTION

          The Parties shall produce e-mail attachments sequentially after the parent e-mail. Email

thread analysis 2 may be used to reduce the volume of emails reviewed and produced, provided that

the produced emails include all responsive information from a thread, including attachments

(regardless of their placement in the email thread) and bibliographic information. The Parties agree

that removal of available lesser-included emails from potential production will reduce all Parties’

costs of document review, production, and litigation-support hosting, and, when producing the

most-inclusive email in a thread, the parties need not also produce lesser-included emails in the

thread. Participants in lesser-included emails that otherwise would have been subject to review

shall be listed in the most-inclusive email’s “All Participants” field included in the data load file




2
    Where multiple email messages are part of a single email chain or "thread", a party is only required to
     produce the most inclusive messages ("Last in Time Email") and need not produce earlier, or less
     inclusive email messages or "thread messages" that are fully contained, including attachments, and
     including identical senders and recipients, including the Last In Time Email. Only email messages for
     which the parent document and all attachments are contained in the Last In Time Email will be
     considered less inclusive email messages that need not be produced.



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(see Exhibit B). In the event that any person listed in the “All Participants” field is a deponent or

witness, the Receiving Party may request the Producing Party to produce a copy of a reasonable

number of specific unthreaded emails from that custodian/deponent’s files at least five (5) business

days before the deposition or testimony. The Producing Party shall promptly produce the

unthreaded email or from that custodian/deponent’s files within five (5) business days of the

request.

           M.     DE-DUPLICATION

       A Party is only required to produce a single copy of a responsive document. “Duplicate

ESI” means files that are exact duplicates based on the files’ MD5 hash, SHA-1 hash, email

duplicate spare messages (as defined by Relativity) or SHA-256 hash values. The Parties shall

make reasonable efforts to not to produce Duplicate ESI. To the extent identical copies of

documents appear in the files of a Custodian, the Producing Party shall attempt to produce only

one such identical copy across all Custodians based on MD5 or SHA-1 hash values at the document

level for file system data or the email family level for emails (except for Paper Discovery). Entire

document families may constitute Duplicate ESI. De-duplication shall not break apart families.

When the same Duplicate ESI exists in the files of multiple custodians, the names of all custodians

who were in possession of a document prior to de-duplication will be populated in the All

Custodians field identified in Exhibit B. Likewise, the File Path that would have been provided for

each version of the document that was not produced due to de-duplication will be populated in the

All File Paths field. De-duplication shall be performed prior to application of the methodologies

described in Appendix A.

           N.     EMBEDDED FILES

       Embedded files, except for images embedded in emails, are to be produced with family

relationships preserved. Embedded files should be assigned Bates numbers that directly follow the


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Bates numbers on the documents within which they are embedded and values in the “BegAttach”

and “EndAttach” fields to indicate their family.

          O.      COLLABORATION SOFTWARE

       The Parties agree that potentially relevant ESI generated from collaboration software (e.g.,

Microsoft Teams, Onedrive, or Slack) is discoverable, and that the most efficient and cost-effective

methods for collecting and producing such ESI may depend on the specific collaboration software

in use. The parties further agree that it is helpful, where reasonably possible, to produce relevant

individual chat messages with the context of prior-in-time and subsequent in-time chat messages.

As a result, the Parties will meet and confer to discuss the methods to collect ESI generated by

collaboration software, and the Parties agree to meet and confer regarding their preferred

processing and production format for relevant communications in collaboration software prior to

any production of chat messages.

          P.      DeNIST

       Each Party shall use its best efforts to filter out common system files and application

executable files by using a commercially reasonable hash identification process. Hash values that

may be filtered out during this process are located in the National Software Reference Library

(“NSRL”) NIST hash set list.

          Q.      PRODUCTION DELIVERY

       Unless otherwise agreed, documents and ESI will be produced via secure FTP site or

similar electronic transmission format. If the data volume is such that electronic transmission of

the production is impracticable the production will be delivered on an encrypted external hard

drive to a location designated by the Requesting Party. Production media should have an

alphanumeric volume name; if a hard drive contains multiple volumes, each volume should be

contained in an appropriately named folder at the root of the drive. Volumes should be numbered


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consecutively (ABC001, ABC002, etc.). Deliverable media should be labeled with the name of the

MDL, the identity of the Producing Party, and the following information: Volume name,

production range(s), and date of delivery.

IX.    PROPRIETARY SOFTWARE, SYSTEMS AND DATA STORAGE LOCATIONS

             A.   SOFTWARE

       To the extent that relevant ESI cannot be rendered or reviewed without the use of

proprietary software (whether created by the Party or not), the Parties shall meet and confer to

minimize any expense or burden associated with the production of such documents in an

acceptable format, including issues as may arise with respect to obtaining access to any such

software and operating manuals.

       During meet and conferral, the Producing Party shall have available a subject matter or

technical expert to address questions regarding the capabilities and potential production formats

for information retrieved from any such proprietary software. If the Producing Party identifies

relevant information contained exclusively in proprietary software, the Producing Party shall be

required to propose a retrieval methodology and production format for such information in writing,

and the Parties agree to meet and confer within fourteen (14) days of such written disclosure to

discuss any necessary adjustments to the proposal.



             B.   ELECTRONIC DATA STORAGE

       To the extent that relevant ESI is stored in large databases or file servers such as Network

Attached Storage (NAS) or Storage Area Network (SAN), the Parties shall meet and confer to

minimize any expense or burden associated with the production of such documents located in those

locations.




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       During meet and conferral, the Producing Party shall have available a technical expert to

address questions regarding these databases and potential production formats for information

retrieved from them. If the Producing Party identifies relevant information in these databases, the

Producing Party shall be required to propose a retrieval methodology and production format for

such information in writing, and the Parties agree to meet and confer within fourteen (14) days of

such written disclosure to discuss any necessary adjustments to the proposal.

          C.      HARDCOPY DOCUMENT STORAGE

       To the extent that relevant documents and evidence are stored in hard copies in a storage

facility, the Parties shall meet and confer to minimize any expense or burden associated with the

production of such documents stored in those locations.

       Prior to any meet and confer regarding hardcopy document storage, the Producing Party

shall provide to the receiving Party either a table of contents or inventory listing what is stored in

the physical storage location. If production or searching is not feasible, the Receiving Party shall

be able to inspect the physical location in person.

X.     SOCIAL MEDIA

        Any party producing information collected from social media should, if reasonable and

proportionate, include document level OCR text files to accompany TIFF or other image format

production and include (but not be limited to) the following metadata information: SOCIAL

MEDIA PLATFORM, SOCIAL MEDIA USERNAME, and SOCIAL MEDIA CUSTODIAN(S).


                                                      E N T E R:


 Dated: May 18, 2023

                                                      MARY M. ROWLAND
                                                      United States District Judge



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                                       APPENDIX A

                         TECHNICAL SPECIFICATIONS AND
                          REQUIRED METADATA FIELDS

1. IMAGES:

  o Produce documents as single page, black and white, Group IV, TIFF files.

  o Image Resolution 300 DPI

  o File Naming Convention: Match Bates Number of the page.

  o Insert placeholder image for files produced in Native Format

  o Original document orientation shall be retained

2. SPECIAL FILE TYPE INSTRUCTIONS:

  o Certain documents shall be produced in Native Format as required by Section VIII of this
    Protocol.

3. FULL TEXT EXTRACTION/OCR:

  o Produce full extracted text for all file types (Redacted text will not be produced)
    including text of embedded content

  o Produce OCR text for any hard copy document

  o Produce OCR text for any ESI where the source format was an image file (such as JPG,
    JPEG, GIF, BMP, PCX, PNG, TIF, TIFF etc.) where extracted text cannot be provided,
    using industry standard OCR technology (Redacted text will not be produced)

  o Produce OCR text for any redacted document

  o Production format: Single text file for each document, not one text file per page

  o File Naming Convention: Match BegBates Number

4. LOAD FILES

     a) Data Load File

         o The data load file should use standard Concordance delimiters:

         o Comma - ¶ (ASCII 20)

         o Quote - þ (ASCII 254)


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       o Newline-® (ASCII174)

       o The first record should contain the field names in the order of the data;

       o All date fields should be produced in mm/dd/yyyy format;

       o Use carriage-return line-feed to indicate the start of the next record;

       o Load files should not span across media (e.g., CDs, DVDs, Hard Drives, Etc.); a
         separate volume should be created for each piece of media delivered;

       o The name of the data load file should mirror the name of the delivery volume, and
         should have a DAT extension (i.e., ABC00l.DAT);

       o The volume names should be consecutive (i.e., ABC00l, ABC002, et. seq.)

    b) Image Load File

       o The name of the image load file should mirror the name of the delivery volume,
         and should have an .OPT extension (i.e., ABC001.0PT)

       o The volume names should be consecutive (i.e., ABC001, ABC002, et. seq.)

       o There should be one row in the Load File per TIFF image.

       o Every image in the delivery volume should be contained in the image load file.

       o The image key should be named the same as Bates Number of the page.

       o Load files should not span across media (e.g., CDs, DVDs, Hard Drives, Etc.),
         i.e., a separate volume should be created for each piece of media delivered.

       o The Opticon OPT image load file (.OPT) configuration shall be a page level
         comma delimited file containing seven fields per line: PageID, VolumeLabel,
         ImageFilePath, DocumentBreak, FolderBreak, BoxBreak, PageCount




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                                                         APPENDIX B

                                                    METADATA FIELDS

         Field                 Data Type                 Description            Email   Non- Email ESI   Hard Copy
                                                       Beginning page
Production Number Begin      Integer – Text         production number –           x           x              x
       [ProdBeg]                                       Starting Bates #
Production Number End        Integer – Text        Ending page production         x           x              x
      [ProdEnd]                                   number – Ending Bates #
                                                      Beginning page of
   Attachment Begin          Integer – Text      attachment range [Starting       x           x              x
   [ProdBegAttach]                                   bates # of document
                                                            family]
                                                       Ending page of
    Attachment End           Integer – Text       attachment range Ending         x           x              x
    [ProdEndAttach]                                  bates # of document
                                                             family
                             Integer – Text
   Attachment Count                               Number of attachments.          x           x

                                                 Name of the custodian or
       Custodian                  Text            repository name of the          x           x              x
                                                document produced - Last
                                                Name, First Name format
                                                     This is the source in
        Source                    Text           which non-custodial data         x           x              x
                                                     was collected from
                                                       Name(s) of the
                                                deduplicated    custodians or
                           Text – paragraph
                          Separate entries with document produced of
                                                 repository   name(s)     the
    All Custodians                                                                x           x              x
                                                                       - Last
                                   “;”          Name, First Name format;
                                                    semi-colon delimited
                                                  Lists  all participants in
                           Text – paragraph        lesser-included   emails
    All Participants      Separate entries with                                   x           x
                                                     that, without  email
                                   “;”          treading, would have been

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      Field                Data Type                   Description           Email   Non- Email ESI   Hard Copy
                                               produced, or in the case of
                                                an attachment, would be
                                                 included on a message
                                                   with the attachment
                                                 File name of document
    File Name            Text - Paragraph          (Original including         x           x
                                                        Extension)
                                                File extension of original
  File Extension               Text                                            x           x
                                                         document
                                                 Type of Outlook item,
Email Outlook Type             Text            e.g., email, calendar item,     x
                                                         note, task
                                                For documents produced
                                                in TIFF form, number of
                          Integer – Text         pages in the document.
   Page Count                                                                  x           x              x
                                                For documents produced
                                               in native, page count will
                                                 be 1 (for placeholder).
                                                Title field extracted from
                         Text - Paragraph
  Document Title                                 the Metadata of a non-                    x              x
                                                     Email document
                         Text - Paragraph        Document author of a
     Author            Separate entries with                                               x              x
                                                 non-Email document.
                                “;”
                         Text - Paragraph
  Email Subject                                     Subject of email           x           x
                         Text - Paragraph
      From                                           Email author              x           x
                         Text - Paragraph
       To              Separate entries with        Email recipients           x           x
                                “;”
                         Text - Paragraph
       CC              Separate entries with         Email copyees             x           x
                                “;”
                         Text - Paragraph
      BCC              Separate entries with      Email blind copyees          x           x
                                “;”

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              Field                   Data Type                  Description            Email     Non- Email ESI            Hard Copy
                                      Date/Time            Date sent (mm/dd/yyyy
         Date-Time Sent              (mm/dd/yyyy                                           x              x
                                                             hh:mm:ss format)
                                      hh:mm:ss)
                                      Date/Time                 Date received
      Date-Time Received             (mm/dd/yyyy                (mm/dd/yyyy                x              x
                                      hh:mm:ss)               hh:mm:ss format)
                                      Date/Time                  Creation date
       Date-Time Created             (mm/dd/yyyy                (mm/dd/yyyy                               x
                                      hh:mm:ss)               hh:mm:ss format)
                                      Date/Time            Last modification date
    Date-Time Last Modified          (mm/dd/yyyy                (mm/dd/yyyy                               x
                                      hh:mm:ss)               hh:mm:ss format)
                                                          File/path of the location
                                                             where the item was
            File Path                     Text                                             x              x
                                                         located during the normal
                                                             course of business.
                                                         File Path that would have
                                                           been provided for each
          All File Paths                  Text            version of the document          x              x
                                                         that was not produced due
                                                              to de-duplication.
                                     Integer – Text           Size or volume of
             Filesize                                                                      X              x
                                                                individual file
                                     Integer – Text          Number of pages of
            PGcount                                                                        X              x
                                                             document produced
                                                             Y if hidden content,
      HasHiddenContent 3                  Y/N                                                             x
                                                            otherwise N or empty
                                                         The actual location where
                                          Text
        Physical Location                                the Document is stored or                                                x
                                                                   preserved
                                                               The box number
     Box Number or unique            Integer – Text       associated with archived                                                x
          identifier                                              documents.
3
    “Hidden Content” for purposes of this field shall include track changes, comments, hidden slides, hidden columns, hidden worksheets, or other
      hidden text.


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        Field                 Data Type               Description           Email   Non- Email ESI   Hard Copy
                                                   Unique electronic
                                                   signature of email
     Hash Value                MD5/Text                                       x           x
                                              or electronic file used for
                                                     deduplication.
                                              Production volume name,
                                                  including a volume
                             Integer – Text
  Production Volume                              number and a prefix          x           x              x
                                                  which indicates the
                                                    producing party
                                                     Confidentiality
                                               designation pursuant to
    Confidentiality              Text                                         x           x              x
                                                           the
                                                    Protective Order
                                              Descriptor for documents
      Redacted                   Text          that have been redacted        x           x              x
                                                    (<yes> or <no>)
                                               Path to produced native
     Native Link                 Text                                        X            x              x
                                                 file used for linking.
                                              Path to produced text file
      Text Link                  Text                                        X            x              x
                                              used for database linking.
                                              The social media service,
Social Media Platform            Text          website, or app the data                   X
                                                     was created on
                                                   The username that
                                              generated the data on the
Social Media Username            Text                                                     X
                                                social media service,
                                                     website, or app
                                              The custodian of the data
Social Media Custodian           Text             on the social media                     X
                                               service, website, or app
                                               This contains the access
                                                 and shared data of a
 Shared Location Data            Text          document created by an                     x
                                              online repository such as
                                                Microsoft Onedrive or


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         Field              Data Type               Description           Email   Non- Email ESI   Hard Copy
                                               Sharepoint, Dropbox,
                                                   Sharefile etc.
                                              For documents that are
                                               retrieved from a data
                                              source that permits the
                                            sharing of documents, this
                                             field shall be populated
                                              with the names of each
                                                individual that the
                                            document has been shared
                                                       with.

                           Integer – Text   Beginning Bates#
Other Regulatory/Related                      (including Prefix) used
                                                                           X            X             X
 Productions BegBates                          when produced in the
                                                 other legal matter
Other Regulatory/Related   Integer – Text   Ending Bates#
 Productions EndBates                         (including Prefix) used
                                                                           X            X             X
                                               when produced in the
                                                 other legal matter
     Other Legal           Integer – Text    Beginning Bates number
   Matter BegAttach                         of the first document in an
                                            attachment range (only in
                                                                           X            X             x
                                             emails with attachments)
                                            used when produced in the
                                                 other legal matter
Other Regulatory/Related   Integer – Text    Ending Bates number of
 Productions EndAttach                          the last document in
                                            attachment range (only in
                                                                           X            X             X
                                             emails with attachments)
                                            used when produced in the
                                                 other legal matter

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          Field               Data Type             Description           Email   Non- Email ESI    Hard Copy
 Other Regulatory/Related   Integer – Text   The case caption or other
Productions Short Caption                    legal identifiable name of    X            X              X
                                               the other legal matter
    Tracked Changes             Y/N           The yes/no indicator of
                                              whether tracked changes       x           x               x
                                                  exist in the file.




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